IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA

DANVILLE DIVISION
UNITED STATES OF AMERICA )
)
V. ) Case No. 4:18-cr-00011
)
TENIKQUA FULLER )

WAIVER OF APPEARANCE
COMES NOW your defendant, Tenikqua Fuller, by counsel, and respectfully

waives her right to be present at the hearings in this matter scheduled for September 3

and 4, 2019.

Date: t [3 ) 26/9 4h —
S

my FULLER

Respectfully submitted,
TENIKQUA FULLER

By:_s/s Correy A. Diviney, Esq.

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_ CERTIFICATE OF SERVICE

| , Aussi
I hereby certify that on the 3 \ day of sea 2010, I electronically filed
the foregoing with the Clerk of the Court using the CM/ECF system which will send ~
notification of such filing to all counsel of record.

/s/ Correy A. Diviney

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